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14
                             NORTHERN DISTRICT OF CALIFORNIA
15

16
     DEMETRIC DI-AZ, OWEN DIAZ, and                 Case No. 3:17-cv-06748-WHO
17   LAMAR PATTERSON,
                   Plaintiffs,                      PLAINTIFF’S NOTICE OF REJECTION
18
                                                    OF REMITTITUR
19         v.
                                                    Judge: Hon. William H. Orrick
20   TESLA, INC. dba TESLA MOTORS, INC.;
     CITISTAFF SOLUTIONS, INC.; WEST
21   VALLEY STAFFING GROUP;
     CHARTWELL STAFFING SERVICES, INC.;
22   and DOES 1-50, inclusive,

23         Defendants.
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                                                                      Case No. 3:17-cv-06748-WHO
             Case 3:17-cv-06748-WHO Document 347 Filed 06/21/22 Page 2 of 2




1           On October 4, 2021, a federal jury awarded Plaintiff Owen Diaz $4.5 million in past non-
2    economic damages, $2.4 million in future non-economic damages, and $130 million in punitive
3    damages, for a total jury verdict of $136.9 million. (Dkt. No. 301) On November 16, 2021,
4    Defendant Tesla, Inc. filed a motion seeking judgement as a matter of law or, in the alternative, a
5    new trial. (Dkt. No. 317) On April 13, 2022, this Court conditionally denied Defendant’s motion
6    for new trial, based on Plaintiff Owen Diaz’s acceptance of “a remittitur to $1.5 million in
7    compensatory damages and $13.5 million in punitive damages.” (Dkt. No. 328 at 43:14-15) The
8    Court subsequently ordered Plaintiff to file a notice stating whether he would accept or reject the
9    remittitur no later than June 21, 2022. (Dkt. No. 346 at 6:6-8)
10          Plaintiff hereby provides notice that he REJECTS the remittitur.
11

12                                                 California Civil Rights Law Group
13                                                 Alexander Morrison + Fehr LLP

14                                                 Altshuler Berzon LLP

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16   Dated: June 21, 2022                          _______/s/_Cimone A. Nunley_______
                                                         Lawrence A. Organ
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22                                                           OWEN DIAZ
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                                                                              Case No. 3:17-cv-06748-WHO
